Case 2:05-cV-02430-.]Pl\/|-de Document 11 Filed 08/24/05 Page 1 of 4 PagelD 13

37800-04093 Wcs
IN THE UN|TED STATES DlSTRlCT COURT FOR mfg BY -% D-C-
THE WESTERN DISTRICT OF TENNESSEE

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MlosouTH oRTHoPEch WAF\§"M- GOULD
AssociATEs, P.c. flqu ‘WCTP§§UHT

P|aintiff and Counter Defendant,

v. Civi| Action No. 05-2430
JURY DEMANDED
REG|ONS F|NANC|AL

CORPORAT|ON,
Defendant and Counter C|aimant,
v.

ClNDY TURNER AND LAWRENCE
SCHRADER,

Vvvvvvvv`-Ivvvvvvvvv

Third Party Defendants.

 

SCHEDUL|NG ORDER

 

Pursuant to written notice, a scheduling conference was held August 25, 2005.
Present were Jason Wolfki|l, counsel for plaintiff, and Jerry D. Kizer, Jr., counsel for

defendant At the conference, the following dates were established as the final dates for:

|NlTlAL DlSCLOSURES PURSUANT TO Fed.R.Civ.P. 26(a)(1): September 8, 2005
JOlN|NG PARTIES: October 25, 2005
AMENDlNG PLEAD|NGS: October 25, 2005
lNlTlAL |VlOTlONS TO DlSlV|lSS: December 2, 2005
COMPLET|NG ALL DiSCOVERY: Apri| 28, 2006
1

T'nls document entered on the docket shth noncompliance -
with F\ula 58 and!or 79(a) FFiOP on g jj § / /

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(a) DOCUN|ENT PRODUCTION: Apri| 28, 2006

(b) DEPOS|T|ONS, |NTERROGATOR|ES AND REQUESTS FOR
AD|V|lSSlONS: April 28, 2006

(c) EXPERT W|TNESS D|SCLOSURE (Ru|e 26):

(1) D|SCLOSURE OF PLA|NT|FF AND COUNTER DEFENDANT’S RULE
26 EXPERT
|NFOR|V|AT|ON: January 24, 2006

(2) D|SCLOSURE OF DEFENDANT AND COUNTER CLAIMANT’S RULE
26 EXPERT
lNFORlVlATlON: February 24, 2006

(3) D|SCLOSURE OF TH|RD PARTY DEFENDANT RULE 26 EXPERT
|NFORMAT|ON: lV|arCh 24, 2006

(4) EXPERT W|TNESS DEPOS|T|ONS: Apri| 28, 2006
F|LlNG D|SPOS|T|VE MOT|ONS: May 31, 2006
OTHER RELEVANT MATTERS:

No depositions may be scheduled to occur afterthe discovery cutoff date, A|l motions,
requests for admissions, or other filings that require a response must be filed sufficiently in
advance of the discovery cutoff date to enable opposing counsel to respond by the time
permitted by the Ru|es prior to that date.

Motions to compel discovery are to be filed and served by the discovery deadline or
within 30 days of the default or the service of the response, answer, or objection, which is the
subject of the motion, if the default occurs within 30 days of the discovery deadline, unless the
time for filing of such motion is extended for good cause shown, or the objection to the
defau|t, response, answer, or objection shall be waived.

This case is set for jug tria|, and the trial is expected to last five j5) day(s). The
pretrial order date, pretrial conference datel and trial date will be set by the presiding judge.

The parties are reminded that pursuant to Local Ru|e 11(a)(1)(A), all motions, except
motions pursuant to Fed. R. Civ. P. 12, 56, 59, and 60 shall be accompanied by a proposed
order.

The opposing party may file a response to any motion filed in this matter. Neither party
may file an additional reply, however, without leave of the court. lf a party believes that a

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reply is necessary, it shall file a motion for leave to file a reply accompanied by a
memorandum setting forth the reasons for which a reply is required.

The parties have not consented to trial before the magistrate judge.

This order has been entered after consultation with trial counsel pursuant to notice.
Absent good cause shown, he scheduling dates set by this order will not be modified

extended Z{u g

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DIANE K. VESCOVO
UN|TED STATES MAG|STRATE JUDGE

DATE: Q¢¢?M_! ,?{/. 0740$`

 

Approved for entry:

 

Attorney for P|aintiff
|Vlidsouth Orthopedic Associates, P.C.

 

Attorney for Defendant
Regions Financiaf Corporation

 

DISTRICT oURT - W

Notice of Distribution

This notice confirms a copy of the document docketed as number 11 in
case 2:05-CV-02430 Was distributed by faX, mail, or direct printing on
August 24, 2005 to the parties listed.

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Honorable .1 on McCalla
US DISTRICT COURT

